Case 1:01-cr-00416-ILG         Document 1098        Filed 11/29/05   Page 1 of 7 PageID #: 255




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 ROBERT SANTORO,
                                                      MEMORANDUM AND ORDER
                        Petitioner,                   01 CR 416 (ILG)
                                                      03 CR 1000
        -against-                                     04 CV 5459

 UNITED STATES OF AMERICA,

                         Respondent.
 -----------------------------------------------x
 GLASSER, United States District Judge:

        The petitioner has filed this motion pursuant to 28 U.S.C. § 2255 seeking an

 order that would require him to be resentenced in the wake of United States v. Booker,

 125 S. Ct. 738 (2005), in the two cases in which he was sentenced, United States v.

 Santoro, 01 Cr 416(S-6), and United States v. Santoro, 03 Cr 1000, to terms of 63 and 78

 months concurrently and respectively. In each case, the petitioner entered into an

 agreement with the government by the terms of which he waived his right to appeal or

 collaterally challenge the sentences imposed. At the time this motion was filed, Booker

 and its companion case, United States v. Fanfan, were pending appellate review in the

 Supreme Court.

        The gravamen of the petitioner’s motion, in essence, is that enhancements which

 drove his guidelines range upwards, were not of facts which were submitted to and

 found by a jury and therefore fatally collided with Apprendi v. New Jersey, 530 U.S. 466

 (2000) and with the rights granted him by the Sixth Amendment to the United States

 Constitution as announced in Booker. It then follows, he contends, that his waiver of

 that fundamental constitutional right was offered neither knowingly not intentionally

 and its invalidity should be presumed.
Case 1:01-cr-00416-ILG      Document 1098         Filed 11/29/05   Page 2 of 7 PageID #: 256




                                       Background

        Following a trial to the court and jury at which he was represented by

 experienced counsel, the petitioner was found guilty on November 18, 2002, of

 conspiring to commit wire fraud, wire fraud, mail fraud, money laundering, making a

 false statement and perjury in violation of 18 U.S.C. § § 371, 1343, 1341, 1956, 1001 and

 1621. 01 Cr 416(S-6). The overreaching conduct to which his conviction gave rise was

 his operation of the City Check Cashing Company to launder stolen checks and checks

 flowing from crimes committed by the Genovese Organized Crime Family.

        In anticipation of his sentence, the government submitted a Memorandum

 asserting that Santoro laundered millions of dollars for organized crime which, it

 continued, was conduct relevant to the conduct proved at trial and urged that his

 Criminal History Category should be enhanced accordingly.

        Thereafter, on September 5, 2003, Santoro waived indictment and pleaded guilty

 to a single count Information in which he was charged with a conspiracy to launder

 money stolen from the Metropolitan Transportation Authority. On the same day,

 Santoro entered into two agreements with the government pursuant to Rule 11(c)(1)(C),

 Federal Rules of Criminal Procedure. In one, the parties stipulated to a Sentencing

 Guideline range of 63 - 78 months in the case in which he was convicted after trial (the

 trial case), and in which Santoro agreed that he will not file an appeal or otherwise

 challenge his conviction or sentence if the sentence imposed did not exceed 78 months.

 It was also agreed that the stipulation was contingent upon his pleading to an

 Information in 03 Cr 1000 and providing the Court accepted the 11(c)(1)(C) plea in




                                              2
Case 1:01-cr-00416-ILG      Document 1098         Filed 11/29/05   Page 3 of 7 PageID #: 257




 accord with 11(c)(3)(A). In the second, Santoro agreed to plead guilty to the

 Information and the parties again stipulated to a higher Guideline range of 78 - 97

 months to be imposed concurrently with the sentence imposed in the trial case, and

 Santoro again waived his right to appeal or otherwise challenge his conviction or

 sentence not greater than 97 months. It was also agreed that the parties could advocate

 as to where within the agreed upon Guideline range the sentence should fall and that

 neither would move for a departure either upwards or downwards from that range.

 Responsive to Santoro’s claim regarding the validity of his agreements in which he

 waived his right to appeal or challenge the conviction or his sentence, are the following

 excerpts from the proceeding on September 5, 2003:

               THE COURT:            Mr. Santoro, you just swore to tell the
               truth. So everything that you are going to say to me this
               morning should be truthful. It is a crime of perjury to tell a
               lie after you swore to tell the truth.
                                     Do you understand that?

               THE DEFENDANT:              Yes, Your Honor.

                                          *   *    *

               THE COURT:         Have you discussed that plea agreement
               with Mr. Lundsten?

               THE DEFENDANT:              Yes, I have.

               THE COURT:           Would you like me to review it with you?

               THE DEFENDANT:              No, sir.

               THE COURT:           There is one paragraph in this plea
               agreement which I want to make sure that you understand.
               Actually, there are two aspects of this plea agreement that I
               want to make sure that you understand.




                                              3
Case 1:01-cr-00416-ILG    Document 1098         Filed 11/29/05   Page 4 of 7 PageID #: 258




                    The government and you have agreed that the
             sentence which is imposed in this case will run concurrently
             with the sentence in the case which I tried and in which you
             were found guilty, I think it was earlier this year or late of
             last year. I don’t recall.

             MR. WEINSTEIN: It was last November, Your Honor.

             THE COURT:           Do you understand that?

             THE DEFENDANT:              Yes, I do.

             THE COURT:            The sentence that is being imposed here
             by the terms of this agreement is to run concurrently with
             the sentence which will be imposed in connection with the
             case which was tried in which you were found guilty.
                    Do you understand that?

             THE DEFENDANT:              Yes, I do.

             THE COURT:          In paragraph four of this agreement, you
             have agreed that you won’t file an appeal or otherwise
             challenge the conviction or the sentence in the event that the
             sentence imposed is not greater than 97 months.
                    Did you understand and agree to that?

             THE DEFENDANT:              Yes, I have.

             THE COURT:           Do you understand what it means to
             give up your right to appeal?

             THE DEFENDANT:              Yes, I do, Your Honor.

             THE COURT:           You are giving up that right voluntarily.

             THE DEFENDANT:              I am, Your Honor.

             THE COURT:           You are also giving up the right to
             question the validity of the proceeding here this morning.
                    Do you understand that?

             THE DEFENDANT:              Yes, I do.

                                        *   *    *



                                            4
Case 1:01-cr-00416-ILG      Document 1098         Filed 11/29/05   Page 5 of 7 PageID #: 259




               THE COURT:         Mr. Lundsten, you have gone over this
               agreement with Mr. Santoro.

               MR. LUNDSTEN:        Yes, I have, Your Honor.

               THE COURT:           Is there any question about his
               understanding it?

               MR. LUNDSTEN: No. I believe Mr. Santoro fully
               understands the plea agreement.

               THE COURT:             At the end of this agreement, Mr.
               Santoro, there is a provision which says that you have read
               the entire agreement, you have discussed it with your lawyer,
               and you understand all of its terms, and you have entered
               into it knowingly and voluntarily.
                       Is that correct?

               THE DEFENDANT:              That is true, Your Honor.

 Tr. at 2, 16-18, 18-19.


        Sentences in both cases were imposed on December 15, 2003. For the crimes of

 which he was convicted after trial, the Court imposed a sentence of 63 months, the

 bottom of the agreed upon Guideline range. For the crime of which he pleaded guilty,

 the Court imposed a sentence of 78 months, the bottom of that agreed upon Guideline

 range and to run concurrently with the preceding sentence.

                                        Discussion

        A.     The Validity of His Plea and His Waiver

        The acknowledgment of the understanding and voluntariness of his waivers of his

 right to appeal his sentence and to challenge the validity of his plea are established

 beyond peradventure of a doubt by his own words as set forth above.




                                              5
Case 1:01-cr-00416-ILG      Document 1098          Filed 11/29/05   Page 6 of 7 PageID #: 260




        B.     The Effect of Booker

        Given the validity of his plea, there is no suggestion in it that it was not intended

 to apply to issues arising after the waiver. In Garcia-Santos v. United States, 273 F.3d

 506, 509 (2d Cir. 2001), the Court expressed it thus: “We have long enforced waivers of

 direct appeal rights in plea agreements, even though the grounds for appeal arose after

 the plea agreement was entered into.” Having entered into his plea agreement after

 Apprendi but before Booker, it is assumed that Santoro was aware of his Apprendi rights

 at the time of his plea agreement. His unawareness of his rights under Booker is

 irrelevant. “His inability to foresee that subsequently decided cases would create new

 appeal issues does not supply a basis for failing to enforce an appeal waiver. On the

 contrary, the possibility of a favorable change in the law after a plea is simply one of the

 risks that accompanies pleas and agreements.” United States v. Morgan, 406 F.3d 135,

 137 (2d Cir. 2005). The Morgan Court concluded at 138, that an appeal waiver is

 enforceable against a Booker claim. See also United States v. Haynes, 412 F.3d 37 (2d

 Cir. 2005); United States v. Roque, 421 F.3d 118 (2d Cir. 2005). It necessarily must

 follow that the waiver being enforceable against a Booker claim on direct appeal, is also

 enforceable against a motion pursuant to 28 U.S.C. § 2255.

        C.     Retroactivity of Booker

        The retroactivity of Booker has been foreclosed by Guzman v. United States, 404

 F.3d 139 (2d Cir. 2005), in which the court decided that “Booker is not retroactive, i.e., it

 does not apply to cases on collateral review where the defendant’s conviction was final

 as of January 12, 2005, the date that Booker issued.” 404 F.3d at 144.




                                               6
Case 1:01-cr-00416-ILG       Document 1098         Filed 11/29/05     Page 7 of 7 PageID #: 261




          The foregoing makes it unnecessary to discuss the applicability of the one year

 limitation for bringing motions pursuant to § 2255.

          The petition is dismissed.

          SO ORDERED.

 Dated:         Brooklyn, New York
                November 29, 2005



                                                S/
                                                     I. Leo Glasser




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